                     Case 1:22-sw-00128-RMM Document 1 Filed 05/06/22 Page 1 of 12
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 22-SW-128
 EIGHT U.S. POSTAL PARCELS LOCATED AT THE                                    )
    WASHINGTON GENERAL MAIL FACILITY IN                                      )
      WASHINGTON, D.C. UNDER RULE 41
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 SEE ATTACHMENT A

located in the                                    District of                 Columbia                 , there is now concealed (identify the
person or describe the property to be seized):
 CONTRABAND AND/OR CONTROLLED SUBSTANCES


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. SECTION 841(a)(1)               (Possession with Intent to Distribute a Controlled Substance)
        21 U.S.C. SECTION 843(b)                  (Use of a Communication Facility to Facilitate the Commission of a Federal Drug
                                                  Felony)
          The application is based on these facts:


           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                                James Ussery, Postal Inspector
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            05/06/2022
                                                                                                        Judge’s signature

City and state: District of Columbia                                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                      Printed name and title
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                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-SW-128
      EIGHT U.S. POSTAL PARCELS LOCATED AT THE                              )
         WASHINGTON GENERAL MAIL FACILITY IN                                )
           WASHINGTON, D.C. UNDER RULE 41                                   )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  SEE ATTACHMENT A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  CONTRABAND AND/OR CONTROLLED SUBSTANCES




          YOU ARE COMMANDED to execute this warrant on or before                                 (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     , U.S. Magistrate Judge                 .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:22-sw-00128-RMM Document 1 Filed 05/06/22 Page 3 of 12
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-SW-128
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                          Attachment A




Subject     Express (E) or Priority (P)    From:                   To:
Parcel      and Tracking ID number         Name and Address        Name and Address


1.          (P) 9505 5158 8394 2122        Rashaun Brent           Brionna Nelson
            8990 18                        9520 Spectrum Drive     16207 Accolawn Rd
                                           Austin, TX 78717        Accokeek, MD 20607


2.          (E) EI 297 273 549 US          Maya Fuller             Tyeshia Jones
                                           9073 Rose St            2524 Kinderbrook Ln
                                           Bellflower, CA 90706    Bowie, MD 20715

3.          (E) EI 255 667 165 US          Xander Lang             Brionna Nelson
                                           4200 Paradise Rd        16207 Accolawn Rd
                                           Las Vegas, NV 89109     Accokeek, MD 20607


4.          (E) EI 279 277 779 US          Kierra Murphy           Mark St Denny
                                           7930 E Camelback Rd     Embassy Suites by Hilton
                                           Unit 30                 4300 Military Rd NW
                                           Scottsdale, CA 85251    Washington DC 20015

5.          (E) EJ 271 260 401 US          Timmy Nguyen            Kevin Nguyen
                                           7400 Center Ave         7933 Carriage Dr
                                           Huntington Beach, CA    Severn, MD 21144
                                           92647

6.          (E) 9470 1111 0803 6467        Mailbox Toluca Lake     Beyond the Standard LLC
            0378 24                        Mailbox Toluca Lake     3610 Sweetbush Trl
                                           10153 Riverside Dr      Laurel, MD 20724
                                           Toluca, CA 91602

7.          (E) 9470 1361 0936 1259        DXC Store               Marquis Givens
            8769 95                        11140 W Washington      11004 Phillips Dr
                                           Blvd                    Upper Marlboro, MD
                                           Culver City, CA 90232   20772



8.          (E) EJ 836 973 141 US          John Green              Dimitrius Moore
                                           3320 Kenneth Dr         6010 Martin Luther King
                                           Los Angeles, CA 90032   Jr HWY Apt 302
                                                                   Capitol Heights, MD
                                                                   20743
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
 EIGHT U.S. POSTAL PARCELS
 LOCATED AT THE WASHINGTON
                                                      22-128
 GENERAL MAIL FACILITY IN
 WASHINGTON, D.C.
 UNDER RULE 41


                     AFFIDAVIT IN SUPPORT OF APPLICATION
                 FOR A SEARCH WARRANT FOR U.S. MAIL PARCELS

       Your Affiant, James Ussery, United States Postal Inspector, Washington D.C., being duly

sworn, hereby deposes and states as follows:

I.     Subject Parcels.

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant

for eight (8) U.S. Mail Parcels, hereinafter “Subject Parcels,” or “SP.” These Subject Parcels are

currently located at the Washington General Mail Facility, in Washington, D.C., 20066. These

Subject Parcels are specifically identified as follows:

Subject     Express (E) or Priority (P)     From:                      To:
Parcel      Retail Ground (RG) and          Name and Address           Name and Address
            Tracking ID number

1.          (P) 9505 5158 8394 2122         Rashaun Brent              Brionna Nelson
            8990 18                         9520 Spectrum Drive        16207 Accolawn Rd
                                            Austin, TX 78717           Accokeek, MD 20607


2.          (E) EI 297 273 549 US           Maya Fuller                Tyeshia Jones
                                            9073 Rose St               2524 Kinderbrook Ln
                                            Bellflower, CA 90706       Bowie, MD 20715




                                                  1
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3.          (E) EI 255 667 165 US         Xander Lang                 Brionna Nelson
                                          4200 Paradise Rd            16207 Accolawn Rd
                                          Las Vegas, NV 89109         Accokeek, MD 20607


4.          (E) EI 279 277 779 US         Kierra Murphy               Mark St Denny
                                          7930 E Camelback Rd         Embassy Suites by Hilton
                                          Unit 30                     4300 Military Rd NW
                                          Scottsdale, CA 85251        Washington DC 20015
5.          (E) EJ 271 260 401 US         Timmy Nguyen                Kevin Nguyen
                                          7400 Center Ave             7933 Carriage Dr
                                          Huntington Beach, CA        Severn, MD 21144
                                          92647
6.          (E) 9470 1111 0803 6467       Mailbox Toluca Lake         Beyond the Standard LLC
            0378 24                       Mailbox Toluca Lake         3610 Sweetbush Trl
                                          10153 Riverside Dr          Laurel, MD 20724
                                          Toluca, CA 91602
7.          (E) 9470 1361 0936 1259       DXC Store                   Marquis Givens
            8769 95                       11140 W Washington          11004 Phillips Dr
                                          Blvd                        Upper Marlboro, MD
                                          Culver City, CA 90232       20772



8.          (E) EJ 836 973 141 US         John Green                  Dimitrius Moore
                                          3320 Kenneth Dr             6010 Martin Luther King
                                          Los Angeles, CA 90032       Jr HWY Apt 302
                                                                      Capitol Heights, MD
                                                                      20743


II.    Affiant’s Training and Experience.

       2.     Your Affiant, James Ussery, has been a United States Postal Inspector since July

2014 and has completed 12 weeks of basic investigative training in Potomac, Maryland, which

included various aspects of federal law enforcement including the investigation of narcotics-

related offenses. Prior to being a United States Postal Inspector, your Affiant was a Federal Air

Marshal for the Federal Air Marshal Service for 5 years, between 2010 and 2014. Prior to being a

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Federal Air Marshal, your Affiant was a Police Officer with the city of Atlanta between 2006 and

2010. Your affiant has participated in investigations involving possession with intent to distribute

and distribution of controlled substances. Your affiant has participated in interdictions, control

deliveries, seizures, and search warrants which resulted in criminal arrest and prosecution. As a

result of your Affiant’s training and experience, your Affiant is aware that Priority Mail Express

and Priority Mail services are regularly used by narcotic traffickers to ship controlled substances

and bulk cash through the U.S. Mail.

       3.       Based upon my training and experience in the field of narcotic interdiction through

the mails, I know that there are suspicious characteristics common to many packages that contain

narcotics, controlled substances or the proceeds thereof (i.e., U.S. currency). These factors, more

fully detailed below, are used to identify packages requiring further investigation. In the case of

this search warrant, several of these factors were identified for the eight (8) packages, and the

package was alerted to by the drug detection canine. The most common factors or suspicious

characteristics routinely observed in the course of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the U.S. Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel online by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

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Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant’s experience, it is fairly

easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the mail,

the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

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about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Georgia, Washington, Colorado, Puerto Rico

and Florida (among others, including countries such as China, Netherlands, and various African

nations) can also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The U.S. Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

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and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

          4.    It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

          5.    The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

III.      Probable Cause.

          6.    The following factors or suspicious characteristics are present in the Subject

Parcels:

 Subject     From           Weight:        Label:          Senders       Recipients Canine Alert?
 Parcel      Source                                        name          name
 Express,    State:                                        associated    associated
 Retail                                                    with          with
 Ground                                                    address?      address?
 or Priority                                               Yes / No      Yes / No
                              2 lbs 2.4                        No
 1.Priority    Yes – TX                    Handwritten                       Yes            Max
                                 ozs

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 2.Express    Yes – CA    2 lbs 10 ozs Handwritten           No           No             Max
                            2 lbs 1.8
 3.Express    Yes – NV                 Handwritten           No           Yes            Max
                               ozs
                                                                         Hotel
 4.Express    Yes – AZ     1 lb 5.0 ozs   Handwritten        No          guest           Max
                                                                        possibly
 5.Express    Yes – CA    2 lbs 12 ozs Handwritten           No           No             Max
 6.Express    Yes – CA    8 lbs 12 ozs   Typed              Yes           No             Max
                            5 lbs 1.4
 7.Express    Yes – CA                   Typed               No           Yes            Max
                               ozs
 8.Express    Yes – CA     9 lbs 2 ozs Handwritten           No           No             Max


       7.     The suspicious characteristics listed above were identified while the Subject Parcels

were in the mail stream between May 4, 2022, and May 5, 2022. The affiant removed Subject

parcel (1) from the mail stream on May 4, 2022, and parcels (2-8) from the mail stream on May 5,

2022. The affiant made use of law enforcement and other databases to make determinations about

associations between senders/recipients and the addresses listed on the parcels was made and law

enforcement used standard protocol for canine detection to determine whether there was probable

cause that the Subject Parcel contained narcotics. On May 5, 2022, all the Subject Parcels were

individually placed in a secure area next to several other empty and unused boxes at the

Washington General Mail Facility. At that time, narcotic detection canine “Max”1 was brought

forward to scan the group of boxes, which included the individual Subject Parcels and the empty

and unused boxes placed around the Subject Parcels. The handler, Detective Vincent Witkowski

(Metropolitan Police Department), observed the canine and then informed agents whether the dog


        1
               “Max” was most recently certified in April 2022 to alert on odors of marijuana
(THC), cocaine, “crack” cocaine, heroin, ecstasy (MDMA), and methamphetamine, and is trained
to ensure his accuracy. Detective Vincent Witkowski, of Metropolitan Police Department, is the
handler for “Max.”


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alerted on the Subject Parcels. This process was repeated for each and every Subject Parcel listed

above. As indicated in the chart, the drug detection dog alerted to the presence of narcotics in each

Subject Parcel listed above.

VI.    Conclusion.

       8.      Your affiant submits that based upon the above indicators reflected in the eight

(8) Subject Parcels described herein, based upon my training and experience, and based upon the

alert of trained canine on the package, I believe there is probable cause that the above-described

Subject Parcels contains narcotics or controlled substances, and thereby constitute evidence of,

and contraband related to, the possession with intent to distribute controlled substances in

violation of 21 U.S.C. Section 841(a)(1), and the use of a communication facility to facilitate the

commission of a federal drug felony in violation of 21 U.S.C. Section 843(b).

                                              ___________________________
                                              James Ussery
                                              United States Postal Inspector




Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 6, 2022.



                                              _____________________________
                                              ROBIN M. MERIWEATHER
                                              United States Magistrate Judge




                                                 8
